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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                   CASE NO. 8:91-CR-301-T-17


 MARLON MCNEALY
                                        /
                                             ORDER

        This cause comes before the Court on the defendant’s motion for modification of
 sentence, the requested modification was based on the retroactive application of revised cocaine
 base sentencing guidelines (Docket No. 1241). The Court appointed counsel in this case and
 required responses from the United States Probation Office, the government, and the defendant
 through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
 1252 and 1259 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
 Assessment). The government and probation concur that the defendant is not eligible for a
 reduction in sentence based on the amended guidelines. The Court finds the responses of the
 government and probation persuasive and specifically incorporates them by reference herein.
 Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence, the requested
 modification was based on the retroactive application of revised cocaine base sentencing
 guidelines (Docket No. 1241) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 1st day of June, 2009.
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